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1     Joseph R. Re (Bar No. 134479)
      joseph.re@knobbe.com
2     Stephen C. Jensen (Bar No. 149894)
      steve.jensen@knobbe.com
3     Sheila N. Swaroop (Bar No. 203476)
      sheila.swaroop@knobbe.com
4     Irfan A. Lateef (Bar No. 204004)
      irfan.lateef@knobbe.com
5     Benjamin A. Katzenellenbogen (Bar No. 208527)
      ben.katzenellenbogen@knobbe.com
6     Brian C. Claassen (Bar No. 253627)
      brian.claassen@knobbe.com
7     Stephen W. Larson (Bar No. 240844)
      stephen.larson@knobbe.com
8     Kendall M. Loebbaka (Bar No. 285908)
      kendall.loebbaka@knobbe.com
9     KNOBBE, MARTENS, OLSON & BEAR, LLP
      2040 Main Street, Fourteenth Floor
10    Irvine, CA 92614
      Phone: (949) 760-0404
11    Fax: (949) 760-9502
12    Adam B. Powell (Bar. No. 272725)               Brian C. Horne (Bar No. 205621)
      adam.powell@knobbe.com                         brian.horne@knobbe.com
13    Daniel P. Hughes (Bar No. 299695)              Mark D. Kachner (Bar No. 234192)
      daniel.hughes@knobbe.com                       mark.kachner@knobbe.com
14    KNOBBE, MARTENS, OLSON & BEAR, LLP             KNOBBE, MARTENS, OLSON & BEAR, LLP
      3579 Valley Centre Drive                       1925 Century Park East, Suite 600
15    San Diego, CA 92130                            Los Angeles, CA 90067
      Phone: (858) 707-4000                          Phone: (310) 551-3450
16    Fax: (858) 707-4001                            Fax: (310) 551-3458
17     Attorneys for Plaintiffs,
       MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
18
       [Counsel for Apple appears on next page]
19
                           IN THE UNITED STATES DISTRICT COURT
20                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                    SOUTHERN DIVISION
21
       MASIMO CORPORATION,                        ) Case No. 8:20-cv-00048-JVS-JDE
22
       a Delaware corporation; and                )
       CERCACOR LABORATORIES, INC.,               )
23
       a Delaware corporation                     )
                                                  )
24
                   Plaintiffs,                    ) JOINT STATUS REPORT
                                                  )
25
             v.                                   )
                                                  )
26
       APPLE INC., a California corporation       ) Hon. James V. Selna
                                                  )
27
                   Defendant.                     )
                                                  )
28
     Case 8:20-cv-00048-JVS-JDE Document 1913 Filed 08/28/23 Page 2 of 6 Page ID
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1      MARK D. SELWYN, SBN 244180
       mark.selwyn@wilmerhale.com
2      THOMAS G. SPRANKLING, SBN 294831
       thomas.sprankling@wilmerhale.com
3      WILMER CUTLER PICKERING
       HALE AND DORR LLP
4      2600 El Camino Real, Suite 400
       Palo Alto, CA 94306
5      Tel.: 650.858.6000 / Fax: 650.858.6100
6      JOSHUA H. LERNER, SBN 220755
       joshua.lerner@wilmerhale.com
7      WILMER CUTLER PICKERING
       HALE AND DORR LLP
8      One Front Street, Suite 3500
       San Francisco, CA 94111
9      Tel.: 628.235.1000 / Fax: 628.235.1001
10     AMY K. WIGMORE, pro hac vice
       amy.wigmore@wilmerhale.com
11     WILMER CUTLER PICKERING
       HALE AND DORR LLP
12     2100 Pennsylvania Ave NW
       Washington, DC 20037
13     Tel.: 202.663.6000 / Fax: 202.663.6363
14     JOSEPH J. MUELLER, pro hac vice
       joseph.mueller@wilmerhale.com
15     SARAH R. FRAZIER, pro hac vice
       sarah.frazier@wilmerhale.com
16     WILMER CUTLER PICKERING
       HALE AND DORR LLP
17     60 State Street
       Boston, MA 02109
18     Tel.: 617.526.6000 / Fax: 617.526.5000
19     NORA Q.E. PASSAMANECK, pro hac vice
       nora.passamaneck@wilmerhale.com
20     WILMER CUTLER PICKERING
       HALE AND DORR LLP
21     1225 Seventeenth Street, Suite 2600
       Denver, CO 80202
22     Tel.: 720.274.3152 / Fax: 720.273.3133
23     BRIAN A. ROSENTHAL, pro hac vice
       brosenthal@gibsondunn.com
24     GIBSON, DUNN & CRUTCHER LLP
       200 Park Avenue
25     New York, NY 10166-0193
       Tel.: 212.351.2339 / Fax: 212.817.9539
26

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1      KENNETH G. PARKER, SBN 182911
       ken.parker@haynesboone.com
2      HAYNES AND BOONE, LLP
       660 Anton Boulevard, Suite 700
3      Costa Mesa, CA 92626
       Tel.: 650.949.3014 / Fax: 949.202.3001
4
       Attorneys for Defendant Apple Inc.
5

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1            Pursuant to this Court’s August 7, 2023 Order (Dkt. No. 1901), Plaintiffs
2      Masimo Corporation and Cercacor Laboratories, Inc. (jointly, “Masimo”) and
3      Defendant Apple Inc. (collectively, “Parties”) respectfully submit the following:
4            The Parties conferred on the timing and format of the type of settlement
5      procedure that may be most productive. The Parties have agreed to attend another
6      mediation before the Honorable Layn R. Phillips. The Parties will coordinate with
7      Judge Phillips to determine a mutually-convenient date, but have agreed the date
8      should be after (1) this Court’s ruling on Apple’s pending Rule 50(b) Motion
9      Regarding Unjust Enrichment and (2) the Final Determination from the International
10     Trade Commission (“ITC”) in a parallel proceeding involving the Parties. The ITC’s
11     Final Determination is currently expected to issue on October 10, 2023.
12           The Parties also conferred on their availability for retrial. The Parties compared
13     schedules for potential trial dates in the window requested by the Court, and vetted
14     dates with various fact and expert witnesses.       The Parties and their respective
15     witnesses are all available for trial on May 21, 2024. To the extent this date is not
16     convenient for the Court, the Parties request additional time to meet and confer to
17     identify alternative dates.
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1      JOINTLY SUBMITTED:
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3                                      KNOBBE, MARTENS, OLSON & BEAR, LLP
4

5       Dated: August 28, 2023         By: /s/ Adam B. Powell
                                                Joseph R. Re
6                                               Stephen C. Jensen
                                                Sheila N. Swaroop
7                                               Brian C. Horne
                                                Irfan A. Lateef
8                                               Benjamin A. Katzenellenbogen
                                                Brian C. Claassen
9                                               Stephen W. Larson
                                                Mark D. Kachner
10                                              Adam B. Powell
                                                Kendall M. Loebbaka
11                                              Daniel P. Hughes
12                                                Attorneys for Plaintiffs
                                                  MASIMO CORPORATION and
13                                                CERCACOR LABORATORIES, INC.
14

15                                      WILMER CUTLER PICKERING HALE AND
                                        DORR LLP
16

17

18
        Dated: August 28, 2023     By: /s/ Joseph J. Mueller
                                                Mark D. Selwyn
19                                              Thomas G. Sprankling
                                                Joshua H. Lerner
20                                              Amy K. Wigmore
                                                Joseph J. Mueller
21                                              Sarah R. Frazier
                                                Nora Passamaneck
22                                              Brian A. Rosenthal
                                                Kenneth G. Parker
23
                                                  Attorneys for Defendant
24                                                APPLE INC.
25

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1                                 FILER’S ATTESTATION
2           Pursuant to Local Rule 5-4.3.4 regarding signatures, I hereby attest that
3      concurrence in the filing of this document has been obtained from all signatories
4      above.
5

6      Dated: August 28, 2023       By: /s/ Adam B. Powell
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